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 1
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 6
                                            UNITED STATES DISTRICT COURT
 7
                                            EASTERN DISTRICT OF CALIFORNIA
 8

 9                                                     *****

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                                                        )
     UNITED STATES OF AMERICA,                          ) CASE NO.1:11-CR-00303 AWI
11                                                      )
              Plaintiff,                                ) STIPULATION AND ORDER TO
12                                                      ) CONTINUE STATUS HEARING
     vs.                                                )
                                                        )
13                                                        DATE: October 28, 2013
     ADAM KHAMVONGSAY,                                  )
                                                        ) TIME: 10:00 am
14                                                      ) JUDGE: Hon. Anthony W. Ishii
              Defendant.
                                                        )
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17
              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18
     counsel RICHARD A. BESHWATE, JR, attorney for Defendant, and Assistant U.S. Attorney LAUREL
19
     MONTOYA, Attorney for Plaintiff, that the hearing currently scheduled for OCTOBER 28, 2013, at 10:00
20
     a.m. shall be continued until NOVEMBER 12, 2013, at 10:00 a.m. or to a date the Court deems appropriate.
21
              This continuance is necessary so that defendant’s attorney and the AUSA can have sufficient time
22
     to conclude the necessary steps to qualify Mr. Khamvongsay for the Safety Valve.
23
     ///
24
     Case 1:11-cr-00303-DAD-BAM Document 62 Filed 10/24/13 Page 2 of 2
           The parties stipulate that the time until the next hearing should be excluded from the calculation of

 1   time under the Speedy Trial Act. The parties stipulate that the ends of justice are served by the Court

 2   excluding such time, so that counsel for the defendant may have reasonable time necessary for effective

 3   preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). Specifically,

 4   defendant’s counsel has been unavailable due his presence in another trial. The parties stipulate and agree

 5   that the interests of justice served by granting this continuance outweigh the best interests of the public and

 6   the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 7

 8   DATED: October 23, 2013

 9                                                    Respectfully submitted,
                                                      /S/ Richard A. Beshwate, Jr.____________
10                                                    RICHARD A. BESHWATE, JR.
                                                      Attorney for Defendant, ADAM KHAMVONGSAY
11

12   DATED: October 23, 2013

13                                                    Respectfully submitted,
                                                      /S/ Laurel Montoya
14                                                    LAUREL MONTOYA
                                                      Assistant U.S. Attorney
15

16                                                     ORDER

17            IT IS HEREBY ORDERED THAT the date set for hearing be continued to NOVEMBER 12

18   2013, at 10:00 a.m.

19

20   IT IS SO ORDERED.


21
     Dated:   October 23, 2013
     0m8i78                                             SENIOR DISTRICT JUDGE
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